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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

AMYRIS, INC., et al.,                                       Case No. 23-11131 (TMH)

                                                            (Jointly Administered)
         Debtors.1


                                           NOTICE OF SERVICE

         PLEASE TAKE NOTICE that on December 29, 2023, Lavvan, Inc. (“Lavvan”), by and

through its undersigned counsel, caused a copy of Lavvan, Inc.’s First Set of Estimation and

Claims Objection Discovery Requests Directed to Debtors to be served upon the parties specified

below in the manner specified:

    Via Email                                         Via Email

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  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.




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Dated: December 29, 2023

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